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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                 BID PROTEST




AMAZON WEB SERVICES, INC.,

                             Plaiutiff,
                                                        Case   No. l9-cv-01796

                                                        Judge Carnpbell-Srnitlt
UNTTED STATES OF AMERICA,
by aud tlu'ough the U,S, Departrneut of Defeuse,

                             Defeudaut,
                                                        FTNAL REDACTED VERSION
     aud

MICROSOFT CORPORATION,

                             De   feuda¡lþIuterveuor'




              rLAINTIF.'*I   REpLy IN suppoRT oF ITS MorIoN
  FOR A TEI\{PORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
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          Plaintiff Amazon Web Services, Inc. files this Reply iu strpport of its Motion for           a


Teruporary Reshaining Order aud Prelirninary hrjurctiou ("Motion"), which asks the             Cout to

order Defendant United States and Defeudar¡t-hrtervenor Microsoft Corporation                  to cease
perfomrance of the JEDI Conhact, pendiug the Cout's resoh¡tion of this bid protest.

                                           ABçWNI
          A'WS dernonsh'ated i¡r its Motiou that   it is eutitled to a temporary   resh'aining order aud

preliminary injunction. In response, the Goveuuneut aud Microsoft downplay the mnuelous,

fundarnental erors ttrat plagued DoD's evaluation, calling theur "minutiae of the procurement

plocess" that the Court should not "secoud guess." Def.'s Resp. Opp'n Pl. s Mot. TRO & Preliur.

Inj. at 12,25,52, 55, ECF No. 139, ("Gov. Op."); Iutervenor Def.'s Meur. Opp'n Pl.'s Mot. TRO

& Prelim. Inj. at 20,48-49,   ECF No. 137 ("hrt.     Op."). But   these en'ors-€valuations that flatly

couhadicted solicitation requilements and resr¡lted iu flawed ratings in favor of Microsoft-are

hardly 'h'rirrutiae," a¡rd ale urquestionably beyoud the discretiou afforded to proctueruent officials.

These enors led to the award     of a conhact that, if perfonned, cornprornises the very natioual

secru'ity i¡rterests the Govemurent a¡d Microsoft claiur they seek to        protect. Moreover,      the

Govem¡¡¡eut and Microsoft fail to rebt¡t the clear and irreparable hann to AWS ûoru contiuued

perfonnance, and the reality of DoD's crureut rnulti-cloud euviromnent exposes the fallacy of the

Govenu¡reut's claiured tugerrcy. Becatrse neither the Govenuneut nor Microsoft l¡as rebutted

AWS's entitleurent to relief l¡ased ou the record evideuce, the Cout should grant AWS's Motion.

See FMS     Inv. Corp. v. United States,136 Fed. Cl. 439, A42 Q0I8); see also Serco, Inc. v. Uniled

States,   tOl Fed. CL.717,7?0 (2011).




                                                    I
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          I.        A}VS'S LIKELIHOOD OF SUCCESS ON THE MERITS IS UNREBUTTED.

          AWS icleutified tluee crucial enors that urdenui¡re DoD's soruce selection: (1)

misevaluation of Microsoft under Factor 5, Price Sceua¡io 6; (2) misevaluation of Microsoft's

demonstlation urder Factor 8; aud (3) misevaluatiou of AWS's and Microsoft's tactical edge

solutions rurderFactor 3.1 Tbe Goveru¡nent audMicrosoft fail to identiffrecord evideuce to rebut

AWS's assertious, offering        i¡rstead   post hoc justifïcations for DoD's inexplicable evaluatio¡rs.

These explanatious, however, are urtethered to the Adrninishative Record             ("4R")   and deserve

little, if any, weiglrt--especially wben courpared to AW'S's allegatious, each ofwhich is coufirmed

by tlre   AR.   ^See
                       Motor Vehicle Mfrs. Ass'n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 50

(1983); see also V.L Paving, Inc. v. United States, 103 Fed. CL.292,3A6 Q0l2).

                    A.      DoD Unreasonably Evaluated the Offerors' Approaches to Price
                            Scenario 6, Cloud Demonstrations, and Tactical Edge Solutions.

          The AR shows DoD conurritted tluee enþrs that undenni¡re the award to Microsoft. Filst,

DoD ruisevaluated Microsoft's techrriç¿¡ approach for Factor 5, Price Scenario 6, by coucluding

Microsoft's     I          storage satisfied the solicitation's ("RFP") requirernent for   olline   storage.

This enor allowed Microsoft to avoid slirnination and claim au illusoryprice advantage. Second,

DoD ig¡rored Microsoft's                                                              rurder Factor    I   by

concluding Microsoft completed all requirerneuts successfrrlly, despite clear evideuce to the

contrary. Third, Microsoft drew false païity between the offerors' tactical edge solutious by

rninirnizing AWS's technical advantages and Microsoft's clear deficiencies. The AR belies the

Govenuueut's post åoc explauatio¡rs for these prejudicial evalt¡atiou discrcpancies.




I The Govenuneut and Microsoft suggest that AWS has al¡andoned its l¡ias-related clairns. Tlris
is not true, as AWS made clear in its opening motion. Pl. Mot. at 6 u.l.
                                                        2
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                       I        DoD Misevaluated Microsoft's Techuical ApProach for                Priqe
                                Scenario 6.

       Neither the Governme¡rt uor Microsoft disputes that Price Scenalio 6 required onliue

storage, or that Microsoft proposed   oolyl           storage. Gov. Op. at27-28; hrt. Op. at 18-19.

Iustead, they claim that Microsoft's proposed storage qualifies as ouliue and thereforc is

teclurically feasible, uotwithstauding the RFP's reqtúremeut for ouline storage, Microsoft's

proposal   of onryfstorage,          and DoD's recognition that Microsoft proposeC         orlvf
storage. Gov. Op. at 28-29; Int. Op. at 18-19. The Govenunent and Microsoft take the position

that it does ¡rot matter what Microsoft proposed because the Govenunent and Microsoft can row

attest that what Microsoft proposed satisfied DoD's ueeds.     ,S¿e   Gov. Op. at 28-29; htt. Op. at 18-

19. Thesepost ltoc rationalizatio[s, however, are contrary to the evidence in the AR.

                                a.     Price Scenario 6 Required "Higbly Accessible" Stomge,
                                       Which the RFP Defured as Onli¡re and Replicated Storage.

       Ttre RFP estatrlished tluee storage tiers for the JEDI   Cloud: onliue, nearline, aud offline.

AR Tab 27 at 614. Offerors were required to identi$r "at least one ouliue object storage offering

that can strpport data on the order of Petabytes," as well as options for "'neatliue' (versus

online/offliue) storage solutious" aud "'offline' storage solutious."    .Id.


       The Govenuueut and Microsoft concede that Price Sceuario 6, as urodified by Arnendmeut

0005,required"higlrlyaccessible"storage. Gov.Op.at27-28;Int.Op.atl8-19; seealsoARTab

302 at 64327 -29. Arnendrnent   0005-issued on May 2 2,2019 , after offerors submitted theil initial

proposals on October 12, 2018 designating their storage solutions as online, nearline, or      offline-

defiued "higürly accessible" as "online aud replicated storage." AR Tab 304 at 64332 (eurphasis

added). Thus, a/ør the offerors defiued theil storage solutions as ouline, ueatline, or offli¡re, DoD

used one of those desiguations---online storage-to defi¡re "highly accessible."       /d
                                                  3
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         The Govenuneut aud Microsoft suggest the Cout should igprore the RFP's precise

defiuitiou of "higtrly accessible" aud iustead focus      oul,       which the Goverurneut conteuds-

without citation to tlre AR-is "the real rreasrue of the accessibility of the data." Gov. Op. at 28-

29; hrt. Op. at 19. But the Corut should not rely ou Dew defiuitions proposed druiug a bid protest

wlren tlre RFP states exactly what was iuteuded. See Greenland Contractors I/S v. United States,

13l Fed. CL.216,227 (2017\ ('If the provisious of the solicitatiou      are clear and urambiguous, they


must be given their plain and ordinary meaning.'). DoD could have defined "higbly accessible"

storage   in tenns of I        or auy other rnehic, btrt it chose to defiue it only as "ouline       and


replicated stolage." AR Tab 304 at 64332. DoD stated exactly what it wauted: the soh¡tions the

offerors had descril¡ed as online storage iu their ploposals.2 Microsoft's failwe to courply with

the onliue storage requircutent was a deficieucy that should have precluded award.

          AWS's urdersta¡rdiug of "higùly accessible," which was based ou the RFP's explicit

defmition, is the only reasouable reading. But eveu if the Court were to find that the Goveurme¡rt's

aud   Microsoft'sposf åoc interpretatious are also reasonable, then the RFP must be held to contain

a lateut arnbiguity as to tl¡e defiuitiou of   "higùly accessil¡le" that the Cotut must coustnre against

tlre Govenuneat- See Heritage of An., LLC v. Uúted States, 77 Fed. Cl. 66, 76 (2007). Moteover,

given Microsoft and AV/S clearly adopted differing interpretations of "highly accessible," it was

incurnbent ou DoD to raise the matter ttl'ougb discussious to ensure the cornpetition proceeded on

a fair aud level playiDg   field.   See Gentøc Cory.      v. United States,58 Fed. Cl. 634, 653 (2003).

DoD's decision to do ueither, and instead allow Microsoft alo¡re to deviate ñ'orn the RFP, was

iurproper.



2
  As fiuther proof, in other Price Sceuarios, DoD ideutified the tyre of stomge by tier desiguation
ratlrer tltan performance metric. See e.g., AR Tab 302 at 64319.
                                                      4
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                                b.        Microsoft Proposed Noncorupliant         I           Storage,
                                          Whereas AWS Proposed Compliant O¡rliue Storage.

       Because neither the Govenuuent uor Microsoft can dispute that Miclosoft proposed

uoucornpliant storage for Price Sceuario 6, they fall l¡ack on the clairu that DoD's urisevaluation

did uot prejudice AWS becar¡se AWS also          propos"dl        storage for this Sceuado. Gov. Op.

at 29-30; hrt. Op. at   l7-18. This   is urisleading.

       Microsoft 's teclurical ploposal identified                          for each tier. It identified

                                                                                        AR Tal¡ 408 at

t733t7, t733t9-20.

                               Contpare AR Tab t96a at 54117, 54 I 19 n ilft AR Tab 408 at 173317,

I733Ig-20. Microsoft never iudicated        itslstorage     also qualified as onliue

       AWS adopted a siruilar approach iu its teclurical proposal, identifuing

for each storage tier. AWS proposed



                                 AR Tab 367 at L52665-66. However, whereas Microsoftf



as Microsoft concedes,




Int. Op. atlT;contparcARTab l96aat 54117,54119 ardARTab40S at 173317,1,73319-20tuith

AR Tab 378 at 155003, 155008-09, l550ll, 155029. Based on this difference in the offerors'

proposals, the PEB recognized (although the Factor          5 TEB inexplicably did not) that AWS

proposed online storage, and that Microsoft       proposed!         storage, for Price Sce¡rario   6. AR

Tab 455 at 176363.


                                                        5
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         The Govenlueut aud Microsoft sidestep this frudarnental distinctiou by claiuring

Microsoft's   !        storage ¡nust be online because   it has the saure

as Microsoft'r    I.               Gov. op. at 28-29; Úrt. op. at 18-19. But ueither the RFP nor

Microsoft courected those meh'ics to high accessibility.       .Se¿   AR Tal¡ 304 at 64332. For example,

althougb the Govenuneut coutends that Microsoft's proposal "tnakes plain, in a chart courpaling

the different Aztu'e Blob storage tiers, that                                                    (Gov. Op.

at 28-29), Microsoft's proposal does uo such thing. The chart to which the Gover:rment refers

sirnply states

                                                             AR Tab 408 at 173459. And, given the

Govenunent and Microsoft assert                            aud "higlrly accessible" are uot synonyns,         it

isturclear.lrowlraviugsimita'fisrelevanttowlretherMicr.osoft'sfsbrage
tiers are "highly accessible" online storage. Gov. Op. at 29; Int. Op. at 19-20.

         Makiug uratters wol'se, to 'þrove" that Microsoft's      I       storage qualifies as online, both

tlre Govenuneut and Microsoft bizanely rcfer to AWS's proposal. Gov. Op. at 29-30:- Iut. Op. at

l7-18. They suggest that lrecause AV/S                                                    for Price Scenario

6, it must uecessarily follow that Microsoft's separate aud       distilctl         offering also qualifies

as   online. Gov. Op. at29-30; hrt. Op. at l7-18. AWS's proposal, however, discussed only AWS's

offerings ard didnot                                                              It certainly did uot speak

to whether    Microsoft'sl       storage, which Microsoft only ever described      utl           is online.

         Regardless, even     if the Court were to conclude     that

                                           AWS's technical approach would still be feasible, whereas

Microsoft's would not, because AWS proposed

                                                AWS's proposal explained that       (l)
                                                    6
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                               (2)                                                                   ; aud

(3)


I            ARTab   371   at tszl66-67. A'ws explaiued the



                                                                             AR Tab 378 at l550ll

Thus, unlike Microsoft, AWS's approach lo Price Scenaùo 6 definiltuelv proposed online storage.

        The AR plainly shows Microsoft proposed uoncornpliaot I                      storage   for   Price

Scenalio   6. If Microsoft   believed   ihI        storage also qualified as ouline storage, Microsoft

bore the buden to subrnit a well-written proposal. See MissionlsÍ Grp., htc. v. United Stotes,l44

Fed. Cl. 200, 213 (2019). Microsoft's failtue to do so is fatal to its standing as the JEDI awaldee.

                                 c.      Microsoft'sTechnicalNa¡rative'WasDeficient.

        Microsoft also failed to describe its technical approach adequately. Pl.'s Mem. Supp. Mot.

TRO & Preli¡¡r. Inj. at 19, ECF No. 120-l ("P1. Mot."). TLe Govemruent and Microsoft effectively

coucede this fact by failing to allege Microsoft                             iu its tecl¡¡rical narrative,

failiug to cite a single exaurple of Microsoft describing   itrl     storage as "highly accessible" or

onliue, aud relying onAWS's description of its                      storage to clairn Mic rosofi   'sf
storage is   online. Gov. Op. at27-31; Iut. Op. at 17-18. Faced with this deficient apptoach, the

TEB could not have rationally concluded that Microsoft's teclurical approach was feasible.3           ^Søe


Red River Holdings, LLC v. United States, 87 Fed. Cl. 768, 787 Q009) (holdiue        inquily is whether

record shows offer-or coruplied with RFP, uot whether agency doubted offetot's capability).



3
  The Govenunent and Mictosoft suggest the TEB cousidered Microsoft's proposed storage for
Plice Scenario 6 ald fourd the approach feasil¡le (Gov. Op. at 29; Int. Op. at 2l), but the evaluatio¡r
does uot rnention storage (AR Tab 332 at 151327-28). The TEB's conclusion is unexplained a¡rd
iudeed inexplicable.
                                                    7
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         The Govenuueut does uot attempt to prop up Microsoft's deficieut teclurical approach.

Gov. Op. at 27-31. Microsoft atteurpts to do so, but rather thau confront the deficiencies of its

proposal, its rebuttal rBsts ou a urischaracterization of AWS's proposal, gl¿inring 'there is no

differeuce in nauatives that matters." Int. Op. at 19. But the differe¡rce does tnatter, because only

AWS provided suff,rcient iuformation to allow for a reasonal¡le technical feasibility evaluation.a

         Althouglr Microsoft claims "A'WS's Factor 5 proposal for Price Scenario 6 mentions

                                                             aud contains a discussion of capability

sirnilar to that iu Microsoft's proposal," this is de¡nonshably false.   .Id.




                AR Tab 371 at 152866-67. The AR thereforc frnnly rcfutes Microsoft's atteurpt to

equate    its technical narrative with AWS's, and Microsoft's faihue to describe its        approach

adequately was a deficiency that should have precluded awald. See Red River, 87 Fed. Cl. at787.

                               d.     DoD's Misevaluation Materially Prejudiced AV/S.

         DoD's elloneous evaluation had a uraterial irnpact ou the ultimate award decision. Had

DoD evaluated Microsoft's teclurical approach to Price Scenario 6 consisteutly with the RFP, it

would have assigred Microsoft deficiencies uot only for proposing â noncourpliant storage

solution, but also for failing to descril¡e its teclrnical approach sufficiently. Either one of these

deficiencies would have beeu sufficieut to elirni¡¿1s Microsoft fi'our the cornpetitiou.s



a
    For exarnple, the Govenunent




5 Microsoft disputes it would be ineligible for award, but-as the RFP i¡rdicates and the
Govenunent concedes-a deficiency renders a proposal ineligible for award. AR Tab 342 at
l5l5l0;Gov.     Op. at 46.
                                                  I
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       DoD's elrors also affected the total evaluated priee calculation. Although the Govenrment

and Microsoft suggest ah"    I             delta (a total calculated by the PEB) in storage cost is

overstated, they igrore that the Goveruurent made Microsoft's cost proposal available iu uative

Excel fonnat only two days before this filing, denþg AWS the opportturity to evaluate

Microsoft's pricing in fiuther detail.6 They also iguore that Microsoft's teclrrrical approach is too

deficient to even turderstand what Microsoft proposed. Regardless, the precise price increase is

not ¡naterial where deficie¡rcies iu Microsoft's proposal reuder   it ineligible for award.   See 48

C.F.R. $ 15.001; AR Tab 305 at 64355.

                        2.       DoDMisevaluatedMicrosoft'sDernonstration.

       The Govenr¡nent aud Microsoft downplay the imporfance of the offerors' demonstratious

urder Factor 8, arguing the dernonshations lacked specific evaluation requireurents. Gov. Op. at

32; Int. Op. at   23. The recold refutes this posl åoc rationalization. In realiS, DoD developed

specific deuroustration scenarios to identifu for evaluation purposes, a "represeutative sample"   of

the activities DoD expected to e¡rcourter "duling the cotuse of normal usage of the   solution." AR

Tab 554 at 181201. Consistent with this prupose, the RFP required DoD to evaluate "the extent

to which the scenarios are successfully demonshated using the proposed approach for Factors I

tluouglr   6." AR Talo 342 at 151507. It also required DoD    to provide instructions to the offerors

for tlre "specific scenarios to be demonsh'ated for evaluation pruposes." fd. al 151497. Tlrese

instructions identified the specific requirements to complete each scenario futly and successfully.T



6AWS received access to the documents frled by the Govem¡nent to cornplete the record on
February 3,2020, aud therefore has not had suffrcie¡rt tiure to review their contents.

7
 DoD did not include the scenario furshuctions i¡r the RFP to ensrue offlerors did not adapt tlreir
proposals to the iushuctions, and thereby defeat the de¡noushations' ptupose. AR Tab 554 at
l8l20l.
                                                  9
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,S¿e   AR Tab 287; see olso AR Tab 290 at 64206. Because of the iurportauce of the demonstrations,

the RFP requiled DoD to elirninate fi'orn the competition any offelor that received a Malginal or

Unacceptabletechnicalrating,oraHighriskrating,urderFactorS. ARTab342at 151503. DoD

did not have discretion to depart fi'orn the RFP's requirements, even               if application of those
requirements meant Microsoft would lre elirnirrated from the corupetition. See                    Alfa Laval

Separation,Inc. v. United States,lT5 F.3d 1365,1367-68 (Fed. Cir. 1999).

                                       a.     DoD Ignored Microsoft's Clear Failues under Scenario 8.2.

          To cornplete Scenario 8.2 successñrlly, the offerors had to scale servers in response to load

changes; that is, as load ilcreased, the system should create uew servers to respond to the iucreased

load, and as load decreased, the systern should respond by shuttiug down no-longer-needed

seryers.    ^S¿¿
                   AR Tab 287 at 64186. This ability to scale sewers automatically ald elastically to

respond     to dernand, especially urder adverse conditions, is frurda¡neutal to the cloud and is

ernplrasizedby the RFP.        ,See,   e.g., AR Tab342 at 151488-90; AR Tab27 at 608. Ttre Gover:r¡¡rent

aud Microsoft admit this was the purpose of Sce¡rario         8.2.   See Gov. Op. at 33;   Int. Op. at24.

          Microsoft

                                                         Pl. Mot. at 24-25. In respouse, the Govemrnent

a¡rd Microsoft argue that the end-of-phase data that AWS cited was "cherry picked," and that the

overall data shows that Microsoft managed to scale its serwers in response to increased load. See

Iut. Op. at25-26; Gov. Op. at 34.

          Microsoft's and the Govenrment's represeutations, lrowevet, are demonsh'ably false.

Although the TEB Report only notes Microsoft's scaling capability at specific snapshots i¡r time

(AR Tab 308 at            64414),


I.                  ïre   below iurage is an an¡rotated screenshot of Microsoft's healthy server count
                                                        l0
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druing the complete Scenalio 8.2 demonstration, taken fiom the denonsh'ation video at AR Tab

291at2:02:57:




         As evident ûomthe chart,s Microsoft'


I     That is,




         Microsoft argues

                                                            ht.Op.   at   25. This too is false. The

video portion that Microsoft cites shows Microsoft was

                        As showr above, it was only after



Thus, the problern is not just that
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                     but rather that

                                 AR Tab 287 at 64173-74.

        This failue had a tangible consequence:

                                                                                                  Specifically,




                            See Tab      29I at 0l:50:21.

                                                                                        See id.   at01:51:56;

see also App. Exh. 2                                                          The DoD evaluators clearly

\ilere a\ilare of this issue in real                                                       (AR Tab 291at

0l:54:09)-yet DoD inexplicably detennined Microsoft                  was

                                                                        AR Tab 308 at 6Ml5

        The Govemme¡rt aud Microsoft seek to explain away the test by alguing that it was

"difficult,"   because DoD prograrnrned the servers         to self-destruct af various tirnes. Gov. Op. at

33-34; hrt. Op. at 26. But DoD cannot walk back its decision to rigorously test the offerors before

hauding over couhol of DoD's entire cloud operatioujust trecause Microsoft could not meet DoD's

requirements. The indisputable fact is that AWS passed this rigorous test, while           Microsoftl
                                                                  demonstration

                                  b.         DoD Igrored a Significa¡rt Risk Increase    e*i"ul
                                            I     r.r. ùusrl¿ilru o.J.

        Scenario 8.3 required the offerors to test features of the tactical edge devices, including by

                                                            S¿e   AR Tab 287 at 64178

                                       "the warfighting environment will involve a lot of repeated shess

and impact to TE devices, aud [DoD] need[s] to have confidence               in the nrggeduess of the TE

                                                       t2
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desig¡r. . . . [This] is an important cornponent to evaluate   on." AR Tab     554 at 181202. The AR

                                                    ,S¿¿   AR Tab 291 at 03:33:30-52:36.

        The Govermnent and Microsoft admit thele rryas a

                     but they algue DoD's evaluation was rational because the cause of           the!


                   Gov. Op. at38;Int. Op. at 27-28.




                                                                                e   See   AR Tab 291 at

03:50:32-51:03

                                                                          id. at O3:5I:37-46     I

        Tlus, the Goveurment's and Microsoft's responses rnischaracterize AWS's algrunent and

the factual record. The point is not that Microsoft failed any parficulal step of the test, but rather,

that Microsoft's

                                                                   This should have beeu     a   siguificant

risk increase. Yet, DoD refused to acknowledge this issue, and albitrarily assigued Microsoft's

Factor 8 a Low risk rating, conh'ary to the RFP. See 2M Research Sems., LLC, v. Uniled States,

139 Fed.   Cl. 471,479 Q0l8).


e
    The Govem¡nent              states


                          tGrev-@
                                                                          at
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                                c        Microsoft's Scenario 8.4 Was

          The Gover¡rnent aud Microsoft siruilar{y attempt           16   ¡f¡irnize DoD's evaluation enors for

Scenario 8.4, ignoring the evaluation criteria and the evideuce before DoD during the evaluation.

          Step 2 of Sceuario 8.4 required the offelors to glant aud revoke user access to the cloud

portal, attempt to log into the portal after access is revoked, and show that these subsequent

atternpts failed. AR Tal¡ 287 at 64L79-80. The Govermnent and Microsoft discuss at length how

Microsoft's solution was the                                                                                   (see

Gov. Op. at 35-36; Int. Op. at 29-30),but this misses the point. l0




^See
       AR Tal¡ 291at 04:45:01-04:50:37      .   This is an irn[¡6¡f¿¡1 distinction because Microsoft did not




                                                     as required by the demonstration         inshuctions.   1d.


          Additionally, Step 3 required the offerors to manage access conhols                                      AR

Tab 287 at 64180. The Gover:lnent and Microsoft claim that Microsoft

                                                                           (Gov. Op. at 36; Int. Op. at 3l), but

this is not the same thing. There is a difference       fur   the level of   granuhrE


l0


                                                       at
                                                                                  ,S¿¿   AR Tab 295 at 04:18:09-
23:49

                                    arr.l


every respect,                                                            Scenario 8.4.
                                                        t4
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                                                                                Moreover, duing the

demonshation, Microsoft adrnifig¿ 1¡.

noting                                                                                              AR

Tab 291 at 04:59:01-04:59:28. Conhary to their assertions, the TEB Report never addressed

Microsoft's supposed                                       or

                                 AR Tab 308 at 6Ml9-23

         Finally, both the Govemrnent and Microsoft try to deflect ûom DoD's i¡rational

explanation that Microsoft's                          were uot a cause for concem because the TEB

stated   it had confidence in Microsoft's ultimate ability to                          ll   Gov. Op. at

36-37; llrtt. Op at 32-33 . Their justifications are flatly iuconsistent with the entire purpose of the

denronsh'ation: to evaluate the offeror's ability to dennnslrale what its proposal clairned it could

do a¡rd not urerely accept those claims at face value. AR Tab 342 at 151507. DoD was not

authorized to re-write the requirements after seeing Microsoft's perfonnance. See Alfa Laval

Separation, Inc., 175 F.3d at 1367-68. For the foregoing reâsons, Microsoft was not entitled to a

                           rating for Scenario 8.4.

                                d.      AWS Was Prejudiced by DoD's Factor 8 Evaluation.

         The prejudice to AWS arising from DoD's misevaluation is clear. Had DoD properly

evaluated the de¡noustrations, Microsoft would have been disquatified,t'       *d   AWS would have




ll Miclosoft  also argues that                                                               Int.    at
32. This is not hue. The test
                   AR Tab 287 at 64191

12
     Given that DoD for¡nd
                                                                                             mofe
                                          demonshation, it would have come to the same conclusion.
                                                  l5
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received the Contlact. See     id.   Even if the Court concludes Microsoft was eligible for award,

Microsoft's failules in Scenarios 8.2 and 8.4, and the siguificant risk increase in Scenario 8.3, do

not support its Good and Low risk ratings. Thus, at rnirri¡¡1¡¡, AWS should have received higher

ratings than Microsoft for Factor 8, which would have offset Microsoft's erroneous higber rating

turder the less-iurpor-tant Factor 6, and forced a hadeoff based on AWS's technical superiority.

                        3.      The Govemment and Microsoft Fail to Offer                a
                                                                                        Plausible
                                Explanation for DoD's Disparate Tactical Edge Evaluation.

         DoD's dispalate treahne¡rt ofthe offerors' tactical edge solutions is yet another example of

how DoD unfairly tilted the evaluation in Microsoft's favor. DoD's disparate h'eahnent sparrnsd

fi'om its evaluatio¡r of portability and dismoturted operatio¡rs, to the offerors'

to the offerors' battery power capabilities. In each instauce, DoD auived at au evaluation

conclusion that def,red reason and unfairþ masked AWS's teclurical superiority.

                                a.       DoD Misevaluated Portability aud Dismounted Operations.

         The Government concedes that DoD




I         Gov. op. at 40.r? A starker example of disparate treatment is hard to irnagine

         Ttre Govenrment, however, claims this disparate treatmeut was u¡arranted because AWS




                                             Gov. Op. at 40. But Microsoft's proposal plainly states

its




        TEB also
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                                                            AR Tab 410 at 173639 (emphasis      added).


Microsoft's proposal thus directly contradicts the Govemment's explanation.

          The Govenunent next claims tlmt, although


I,             tlús disparate treatment does not matter because the SSAC        observed,hur,I
                                                                                           Gov. Op. at

40 (citing AR Tab 457 at 176401-02).14 This also is false. As the TEB recoÊnized but the SSAC

ignored,




AR Tab 369 at 152808; AR Tab 324 at 151167,151176. Thus,



                                                                    l5


          The Gover¡rnent's final defense of this disparate heatmeut is that both offerors provided

sh'engths in certaiu aleas, with AWS                                     and Microsoft


I            Gov. Op. at 41. The Govenrment attributes this assertion to the SSEB, but the SSEB

rnade no such    finding.   ^See
                                   AR Tab 456 at 176375. This defense therefore is no more than another

post hoc inventiou for this litigation.16 In any event, the possibility that each offeror had parficular

shengfhs does not excuse



la   Microsoft mised a sinilar argument, which suffers from the sa¡ne defects. Int. Op.at 35-36.

15
         Govemment does not                      the SSAC




                                            at

16
     It also is inconect.
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                                b.     DoD Pelalized OnlyAWS

          The TEB

                                                                                        ARTab 324

at15l169, 151171;ARTab456at176376-77. TheGovenrment,however,concedesthattheRFP

did not require offerors to

                                                                                         Gov. Op. at

42; ARTab 342 at 151494; AR Tab 410 at 173642-43. The                                           thus

are indisputably contrary to the RFP and irnproper. See Gov. Op. at 42.

          To dishact frorn this erro¡ the Govemrnent argues that                               wefe

justiñed

                       Gov. Op. at 42. There are fwo problerns with this contention. First, it is yet

another   posl åoc invention:



                                 AR Tab 456 at 176376-77.r7 Second,



                                  Conryare AR Tab 369 at 152805, 152809 with AR Tab 410 at

173643

          Microsoft's attempt to rebut ArùVS's allegation fares no better. Microsoft provides      a


differentpost hoc explanatiou for DoD's disparate evaluatiou, asserting its devices




                                                at

              the TEB mentioned
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                     Int. Op. at 37. But, as Microsoft's lack of citatiou teveals, this is pure fiction

The AR rnakes clear that                                                            Contpare AR Tab

369 at 152805

wiîh AR Tab 410 at        173645

                                                              A¡rd, iD any event, therc is nothing to

prevent

                                c.      DoD              Concluded AWS Did Not                  ,I
          As noted above, ttre SSAC enoneously concluded that A'WS did not ptopose
                                                                                                "I
                                                    The Govenunent and Microsoft struggle migbtily

to explaiu this enor, but they do not succeed.

          The Govenunent begins by claiming "DoD did not find that Arü/S failed to propose      .I
                                                                    Gov. Op. at 43. But that is exactly

wlrat the SSAC stated. AR Tab 457 at 176401 (noting

                                                            Although the TEB    acknowledg"dl
                                          (AR faU 324 at 151167,151176), the SSAC erased this

capability from the record, deuying the

I-*t         is information when making the sotuce selectiou decision. AR Tab 459 at 176409

          The Government next argues that, when

                                                                                  Gov. Op.   at43. But




                                                   l9
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it is inconect that   a                                                                         r8   See

id.;Pl. Mot. at 36; AR Tab 369 at 152805-06. Furlhennore, the SSAC's          stateme¡rt   th"tI
                                                                   ignores the fact that

                                       AR Tab 324 at   I5II7   l; AR Tab 369 at I 52809; AR Tab 457

at 176401

          Finally, the Govenunent attempts to rationalize DoD's evaluation by noting    ,hu,f
                                                                                                   Gov

Op. at 44.1e But while those

might be reasons to give it less weiglrt in the evaluation, they were ¡rot valid excuses for fhe SSAC

to tell the SSA                                                               ,   which misrepresented

what AWS actually proposed and crcated a false equivalency between the offerors.

                                  d.   DoD                 and                    Penalized AWS for
                                       Proposing an

          DoD also in'ationally aud disparately penalized AWS for proposing

                                                                                                     for

proposmg      a


                                                               AR Tab 324 at I5Il7 0-7 I, I5ll7 4-7 5

                                                                   AR Tab 456 at 176376




l8
     Microsoft 's assertion
I             Int.op.at   38 n.

te
   Microsoft similarly argues that the SSAC's statenrent'þlainly''refers
Int. Op. at 37. But the SSAC's blanket statement contained no such
the misiurpression that AWS
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       R.e"raiogl,              flre Govemrnent suggests DoD's evaluationwas reasonable becatue




Gov. Op. at 44. Refening to                                        is questiouable. In any event, this

argument igrrores that the RFP required offerors to address 'the full range of nrilitary operatiotls,"

AR Taþ 342 at 151505, and that the TEB described "the full rauge of ruilitary operatious"           as




AR 324 at 151166. Thus, however                                  was,


I-r        fact disputed by neither the Govenunent nor Microsoft. Moteover, although it is true




                                          Yet,

                       (AR Tab 456 at 176377),while Microsoft received a ñ'ee pass.

        The Govem¡¡reut's defense of DoD's couclusion that

                         also does not hold water

                                        AR Tab 410 at 173639-40. Thus, to the extent it made sense

                         Microsoft aud AWS should have been similarly penalized'

                                e.      DoD Minimized      the               of           Power a¡rd
                                        Wrongly Concluded

        DoD dispalately evaluated the offerors with respect to battery power as well. The RFP

required offerors to demonstrate that their tactical edge devices have "[t]he ability to be powered

by battery." AR Tab 342 at :r5l4g4. The Govemment does not dispute that AWS ltut             I
                 S¿ø   Gov. Op. at 46. Instead, it suggests that battery power was urimportant, and

that DoD rationally placed gteater emphasts on


I         Gov. op. at46.


                                                  2l
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        Agencies, however, do not have the discretion                to deviate fi'orn RFP   requilements,

especially where the justification for the deviation is to tailor the evaluation to one offeror's

solution.   See       hrþ.   Scis. Corp.   v. Utited States,73 Fed. Cl. 70, 115-16 (2006). By hivializing

battery power, the evaluation deviated fi om the RFP, m in irn i zed the imporlance of AWS's      I
                  ,   andhidMi"to.oft'[
        The Govermnent's argument, like DoD's evaluation, only confirms that            Microsoft's!
                               for the tactical edge enviromnent. The fact that Microsoft's devices   at"l
                                                   is hardly an advantage. To the contrary, the abiliff   |
                                    is important   because, as the TEB recoguized,

                                                                                                       AR

Tab 208 at 57972. By rninimizing the importance of battery power iu the              filal evaluatior, DoD
violated both the letter and the spirit of the RFP's tactical edge requirements.

                                      f.        DoD's Evaluation Materially Prejudiced AWS.

       DoD's enors rnaterially prejudiced AWS. Factor 3 was the second most importaut factor

in DoD's evaluatio¡r. AR Tab 342 at 151502. The AR, however, shows that DoD's evaluation

was disparate and unreasonable. Under a ratioual evaluation, DoD would have concluded AWS

deserved higher ratings under Factor 3, which, given the relative weighting of the factors, would

have resulted in AWS being found technically superior and forced a best value hadeoff.

                      B.      DoD's Unreasonably Evaluated the Offerors' Logical Isolation,
                              fnformation Security, and Markeþlace Capabilities.

       The Government and Microsoft have               sinil¿dy failed to rel¡ut AWS's challenges to DoD's

evaluatiou with respect to logical isolation, iuformatiou security, aud urarkeþlace offerings.




                                                         22
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                           1.      DoD hnproperly Minimized the Cloud Securit]¡ Beuefits of AWS's
                                   Nitro Hwervisor under Factors 2 ald 4.

         AWS deuronstlated in its Motion that its hardware-backed Niho hypervisor, which the

SSAC concluded                                        to Microsoft's

wauantedasuperiorevaluationu¡rderFactors 2and4.20 ARTab 467 at175400. TheGovenunent

aud Microsoft respond that AV/S's asserfions reflect mere disagreeurent with DoD's judgrnents.

Gov. Op. at 47;Int. Op. at 42. The AR, however, shows Nitro' superiority was ar objective truth.

         The Govemment and Microsoft contend that the offerors' proposed hypervisor solutions

were only   a   parf of the logical isolation and hfonnation security evaluatio¡rs and that the r-emaiuder

of tlre evaluation justified the ratings assigned. Gov. Op. at 47;lnt. Op. at 42-43. But as the TEB

expressly fouud, the hypervisor is cenhal to logical isolation and security in the cloud. AR Tab

323 at   l5ll29.      Moreover, the SSEB explicitly stated

                                                                                                      AR

Tab 456 at 176369-70. Thus, DoD itself ernphasized the importance of the hypervisor.

         Moreover, the SSAC based its couclusiou that AWS aud Microsoft were equal rurder Factor

2 on Microsoft's

I        AR Tab 457 at 176401. The AR, however, shows that AWS has this capability too. AR

Tab 368 at 152797. The SSAC therefore had no basis to claim fhat AWS




20
  Miclosoft claims Factor 4 did not evaluate hlpervisors (hrt. Op. at 46), but Factor 4 requied
DoD to evaluate physical and logical isolatton          which is the
    Tab 342 at 151         Microsoft also
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                                              2t AIt Tab 467 at 175401        (emphasis added). Had the

SSAC     lot   ma¡ufachued ¿ "disçlinrirrator" to offset AWS's                                         DoD

would have concluded AWS was superior under Factor 2, ard technically superior overall.

                         2.     DoD Misevaluated AWS's Third- Parfv Offednos under Factor 5

         The Goveruuent and Microsoft similarly fail to demonshate that DoD's evaluation of the

offerors' third-party marketplace offerings was fair and reasonable.

         Filst, the Govemrnent and Microsoft contend that not all of AWS's thid-party markeþlace

offerings are available at award because

                                Gov. Op. at   5l;   I¡rt. Op. at   47. However, neither ackuowledges the




                   AR Tab 375 at 154075. Nor do they acknowledge that the PEB recoeuized that



                                                                             AR Tab 455 at 176356.

         Second, Microsoft contends there is

                                                                                        hrt. Op. at 47. The

RFP, however, included a specific process for adding new services that "are not already listed in

tlre JEDI Cloud catalogs" druing conhact perfolmaüce. AR Tab 342 at I 5 I 43        5   . Given this process

for adding new services not listed in the JEDI Cloud catalogs, AWS's inclusion of the thild-party

malkeþlace offerings in its price catalogs was proof that they were, in fact, available at award.




2l   Tte Government    and Microsoft uote
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,S¿e   AR Tabs 380-385. Ard, again, the PEB understood that

                                         AR Tab 455 at 176356 (ernphasis added)

          Finally, the Goveurment and Microsoft claim A'WS has failed to cite the AR for its

discussions allegatiou. See Gov. Op. at 52'lnt. Op. at 47-48. But the Gover:unent onlyproduced

evaluation notices on February 3,2020. Neverlheless, it is clear DoD advised at least AWS that

                                                          ^9¿ø
                                                                 AR Tab 455 at       17   6356.

          But for DoD's tuueasonable evaluatior, DoD would have recoeuized AWS's superior

third-party marketplace ald, at rnirrirmlrn, detennined the offelors were equal under Factor       5.22


          U.     THE B,ALANCE OF IIARMS AMONG THE PARTIES AI\D THE PUBLIC
                 WEIGHS HEAVILY IN FAVOR OF INJUNCTIVE RELIEF.

          AWS has showr the balance of hauns among the parties and public weigh iu favor of

irnmediate injrurctive relief. The Govemment's and Microsoft's atteurpts to srtggest otherwise-

iucluding the claim that AWS's Motion is uutirnely-iguore reality and this Corut's precedent.

                 A.     Â\ilS's Motion Is Timely.

          The Govenunent's and Microsoft's attempts to porfray AWS's Motion as untimely are

nudennined by the parlies' prior representations. Gov. Op. at 58-59; Ittt. Op. at 56-57. I¡l

Noveuber 2019, the Govenlnent stated that its proposed briefing schedule "will permit the Court

toresolveyouclient'sprotestpriorto[Feb. ll,2020f,withoultheneedforprelfuninaryinjunctive

relief." App. Exh. 3 (email attaching Pl. Mot. App. Exh. 1, ECF No. 130-2). The Govemrnent

characterized the JEDI activities plamred tluough February I     I   as the   "activities that DoD intends

to engage in duriug the pendency of any plotest to be filed by AV/S at the U.S. Court of Federal




 The Goverume¡rt and Microsoft also have failed to rebut the munerous other errors identified in
22

AWS's Motion. Pl. Mot. at 50-55. Due to page lirnits, AWS does not address those errors here.
                                                25
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Claims." .Id. In reliance ou the Goven¡meut's representations about the nahuB of the activities

and its intent to litigate expeditiously, AWS agreed to delay filiug for injunctive relief, while

expressly reserving its riglrt to do so.23 See, e.g., Joint Mot. Arn. Schedule, ECF No. 54; Joint

Stafus ReporÍ, ECF        No.   ll1.   Rather than proceed on an expedited schedule, the Govenrment

delayed the case siguificautly by seeking au extension to file what remains an incomplete AR, aud

then waiting over two mouths to file a motion for partial dismissal.     ,S¿e   Joint Mot. Am. Schedule;

Def.'s Mot. Disrniss, ECF No. 132. Arù/S timely filed its Motion to prevent the in'eparable hann

that   will occur if DoD   proceeds with performance beyond the identified lirnited activities.

                 B.        AWS Will Suffer lrreparable Harm Absent Injunctive Relief.

          Neither the Govem¡ne¡rt uor Microsoft has rebutted the irreparable hanns to AWS that

would result absent injunctive relief. In fact, by initially agreeing to limit perfomrance during the

protest to enunerated'þreparatory activities" that "do[] not harm [AWS]," PI. Mot. App. Exh.             I

at3-4;seealsoGov.Op.at60(citingDecl.ofShalonWoodsflS,ECFNo.                       139-1),theGovenunent

conceded that    "full perfounauce" beyond      those activities would hann     AWS. Morcover, ueither

party disputes that Microsoft would glean non-public infor:uation tluough fi.ufher perfor:nance.

Gov. Op. at   6l; Int.   Op. at 59. And, despite clafurs that AV/S's hanns are "speculative" (Gov. Op.

at   61,Int. Op. at 60), DoD confinned thatAV/S is likelyto lose work absent an injunction (V/oods

Decl. fl 6), which is precisely the type of irreparable hann this Court has detennined can justifu

injunctive relief. See Sheridan Corp. v. United SÍates,94 Fed. CI.663,669 (2010).




23
  For this reason, Microsoft's reliance :upon Faciliþ Senices Managenrent v. United SlaÍes, I40
Fed. Cl. 323,326 (2018) (Carnpbell-Smith, J.), is inapposite. Unlike the Plaintiff n Facility
Seryices Mandge,nent, AVy'S reserved its rigbt to seek irnrnediate injunctive relief from the outset,
aud infonned the Govemment, Microsoft, and the Courl of that fact.
                                                     26
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                   C.      The Balance of Harms and the Public Interest Weigh in Favor of
                           Granting Injunctive Relief.

            There is no dispute that ir:rprovements to DoD's cyber capabilities are desiratrle, a¡rd that

U.S. warfrghters need and deserve the best. But DoD did not justify why the "critical needs for

national security that are urmet by other available conh'acts" are so urgent as to foreclose

injunctive relief, Woods Decl. !f 3, or explain why national sectuity hterests now require 'fu'gent"

perfonnance while the JEDI Conh'act is under judicial review.24        See   Peralon Inc. v. United States,

lM        Eed. Cl. 59, 70 QOlg) (Campbell-Smith, J.) (enjoining satellite support services contract

where "much of the urgency in this procurement appears to be of the [agency's] own making.").

            Moreover, DoD's tugency is based on the expectation that full perfonnance would deliver

what futr¡re JEDI users were prourised-a solution that would "accelerate our walfiglrting

capabilities." SeeDecl. ofDavidspirk'!f 4,ECF No. 139-2. BtttMicrosoft'scloudofferingisnot

that solution. Each çf Microsoft's                                      tlauslates to   failues to meet the

warfighter's needs. In contrast, AWS's solution offers superior logical isolation aud sectu'ity,

tactical edge devices that support the frrll range          of   operations, and proven capability (as

demo¡rshated utder Factor          8). DoD should uot press forward with a contract       that jeopardizes,

rather than advances, national security.25




2a
  This is especially so given a delay of sirnilal lengfh did not counsel against Secretary Esper's
review. In fact, had national security interests counseled irnmediate perfomance, DoD could have
simply issued a waiver of any potential or actual conflicts of interest. See 48 C.F.R. $ 9.503.
25
     In                     this Court has found that bald national security justificatious do not
          a¡r analogous context,
support oveniding a stay of perfonnance. See e.g., Nortel Gov't Sols., Inc. v. United States,84
Fed. Cl. 243,245 (2008) (reinstating stay where agency "fails to demonshate that abiding by the
[] stay will comprornise the safety and welfare of agency persorutel" and did not "consider the
impact. . . on competition at all").
                                                     27
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        DoD's claims of financial hann are sirni[¿¡lyr*supported. Gov. Op. at 69. To prepare its

"escalation factor," DoD compared AWS's and Microsoft's proposed JEDI pricing to their pricing

on existing contlact vehicles.
                                 fDecl.       fl 7. DoD then applied those "factors" to the "estimated

spend turder the JEDI Cloud contlact during FY20 and         FY2l." Id. n 6. In other words,      DoD

calculated a price premium based on the assurnption that it would have to procure cloud services

at lrigher prices from other existing cloud contracts, and then applied that price preruiurn lo ifs

expected spend on the unavailable JEDI      conîracL It is illogical, however, to measrue hann based

on planned orders on an enjoiued JEDI Contract, rather thau the cost to order frorn the altemative

vehicles DoD components would use if the JEDI Coutract were unavailable. It also is turclear how

DoD calculated its estirr,ated annual spend to detemrine whether the "escalation factors" were

developed using the salne assumptions.26

        Microsoft's alleged hanns are sirnilarly unavailing. Although Microsoft complains about

the costs   it has incured to date (ht. Op. at 6l), Microsoft was obligated to "take all reasonable

steps to rniniurize the incrurence   of costs upon a post-award bid protest." 48 C.F.R. $ 52.233-3;

BCPeabody Constr. Serts.,Inc. v. United States,2013WL3225844,at*2 (Fed. Cl. June 21, 2013)

(rejectiug secuity bond estimate where defendant ignored FAR 52.233-3). Moreover, Microsoft's

claiur that it will be harmed because its

                            is a problem of its owu creation. Microsoft should have anticipated the

potential for   a   protest. See ANHAM FZCO v. United StoÍes,lM Fed. Cl. 697,724 (2019).

        In àny event, iujunctive relief tailored to the cilcurnstances will nútigate any potential hann

to DoD or Microsoft.         See PeraÍon   hrc., 144 Fed. Cl. at   70.   The Cotnt could lirnit JEDI


26
  Tlre Govenunent ignores that DoD may not incw any increased costs            duing any injrurction
because it could meet its needs through existing orders.
                                                  28
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perfonnance dtuing this protest to only those activities to which DoD aheady proposed to limit

itself tluotrgh February 28 (Gov. Op. at 59), which would ensure that AWS will not be fruther

harmed. And if AWS is not successful ou the merits, DoD and Microsoft will be positioned to

continue performance with rninirnal disnrption to DoD's mission.2T DoD's claims fail to tilt the

injunctive relief analysis in its favor.

                D.      The Government Has Failed to Propose e Reasonable Cost Estimate.

        Because AWS is entitled to injunctive relief, the Court must consider whether AWS should

be required to post a security bond. RCFC    65(c). The Govenunent proposed a grossly overstated

security bond based upon its flawed assessment that delayed perfonuance           "will   lead to an

unlecoverable furancial harm . . . totaliug between $5 milliou and $7 million per month of delay,"

aud its assumption that "any [PI] issued . . . could last for six uronths or ruore." Gov. Op. at 69.

As detailed above, this estimated financial hanu is speculative aud its rnethodologyursound.    S¿e


Gen. Dwatnics Missiott Sys., Inc.     v. Unitetl States,l36 Fed. Cl. 355, 360 (2018) (declining to

require security whele no costs would result). Because DoD's secru'ity estimate lacks   a reasonable


basis, tlre Court should waive the requirenrent. See, e.g., CDWLLC v. NETech Corp.,722 F. Supp.

2d 1052 (S.D. hd. 2010) (court may waive security requirement at its discretion).

       To the extent the Court is inclined to require AWS to post a secuitybond, it should tailor

the amourt to cover only the costs that DoD might actually incu'during an injunction based on a

realistic time estimate. See Serco, htc. v. UtiÍed States, 101 Fed. CL.7I7,722       Q0lI\.    Even




27
   lndeed, the Govemment's willingness to stay all other activities for an additional two weeks
beyond Febnrary 13 indicates that auy national security corcenß are not so ulgent that a stay
incident to au injunction would hann the warfiglrter.
                                                 29
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considering the Govenment's pattern of delay, an additional tluee rnonths is a realistic estirnate

to cornplete this litigatiou.

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        For the foregoing reasons, AWS respectfully requests that the Couf GRANT its Motion.




Dated:         February 5,2020               Respectfully submitted,




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